                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            Civil Action No: 3:16-CV-00611

SYNERGY INSURANCE COMPANY,

                              Plaintiff,

        v.

UNIQUE PERSONNEL CONSULTANTS, INC.,

                              Defendant.


               DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER
                  ENTITIES WITH A DIRECT FINANCIAL INTEREST IN
                                   LITIGATION

ONLY ONE FORM NEED BE COMPLETED FOR EACH NONGOVERNMENTAL PARTY EVEN IF THE PARTY IS
REPRESENTED BY MORE THAN ONE ATTORNEY. DISCLOSURES MUST BE FILED ON BEHALF OF
INDIVIDUAL NONGOVERNMENTAL PARTIES AS WELL AS NONGOVERNMENTAL CORPORATE PARTIES.
COUNSEL HAVE A CONTINUING DUTY TO UPDATE THIS INFORMATION. PLEASE FILE AN ORIGINAL
AND ONE COPY OF THIS FORM. PLAINTIFF OR MOVING PARTY MUST SERVE THIS ON THE
DEFENDANT(S) OR RESPONDENT(S) WHEN INITIAL SERVICES IS MADE.

Synergy Insurance Company                    who is Plaintiff                        ,
   (Name of party.)                                   (Plaintiff/moving party or defendant.)

makes the following disclosure:


1.      Is party a publicly held corporation or other publicly held entity?
                ( ) Yes                          (X) No

2.      Does party have any parent corporations?
                 ( X) Yes                          () No
        If yes, identify all parent corporations, including grandparent and great-grandparent
        corporations: Synergy Holdings, LLC



3.      Is 10% or more of the stock of a party owned by a publicly held corporation or other
        publicly held entity?
                ( ) Yes                         (X) No


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        If yes, identify all such owners:



4.      Is there any other publicly held corporation or other publicly held entity that has a direct
        financial interest in the outcome of the litigation?
                 ( ) Yes                          (X) No
        If yes, identify entity and nature of interest:



        This 10th of August, 2016.
                                              s/ Brian L. Church
                                              Stephen M. Cox
                                              N.C. Bar No. 23057
                                              Brian L. Church
                                              N.C. Bar No. 39581
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